Case 3:20-cv-08016-DLR Document 22-4 Filed 05/27/20 Page 1 of 4




               Exhibit D
          Case 3:20-cv-08016-DLR Document 22-4 Filed 05/27/20 Page 2 of 4



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5
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6    All Reverse Mortgage, Inc.

 7
8                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF ARIZONA
 9                                      (Prescott Division)

10   Brenda Whittaker, individually and on      Case No: 3:20-cv-08016-DLR
     behalf of all others similarly situated,
11                                              DECLARATION OF LAURE FISHER
                   Plaintiff,                   IN SUPPORT OF DEFENDANT ALL
12
                                                REVERSE MORTGAGE, INC.'S
13   v.                                         REPLY TO RESPONSE TO MOTION
     All Reverse Mortgage, Inc.,                TO STAY PROCEEDINGS
14
15                 Defendant.                   Hon. Douglas L. Rayes

16                                              Complaint filed: January 16, 2020
17                                              Complaint served: January 23, 2020
                                                FAC filed: March 3, 2020
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                                                             DECLARATION OF LAURE FISHER
       Case 3:20-cv-08016-DLR Document 22-4 Filed 05/27/20 Page 3 of 4



 1   I, LAURE FISHER, declare as follows:
2          1.       I am over the age of 18 and am competent to make this declaration.
3           2.      I am Co-Founder and COO of CallTrackingMetrics ("CTM"), which, among
4    other things, provides its customers a digital calling platform (the "CTM Platform"). In that
 5   capacity, I perform various job duties that support the operations of CTM. As part of my
6    duties as Co-Founder and COO, I am required to understand and do understand the
 7   functionalities of the CTM Platform, including with respect to record retention.
8           3.      The information contained herein is based on my personal knowledge along
 9   with my review of the business records generated and maintained by CTM. These business
10   records include reports and records of acts, events, and transactions, made and maintained in
11   the ordinary course of business at or near the time of the act, event, or transaction by (or
12   from information transmitted by) someone with knowledge. If called as a witness, I could
13   and would testify competently to the matters discussed herein.
14          4.      To assist in compliance with data privacy regulations such as HIPAA, GDPR,
15   CCPA, PCI or PIPEDA, the CTM Platform contains certain preprogrammed record-
16   retention settings that allow for the automatic "redaction" of customer data after a maximum
17   of 90 days, though shorter redaction periods are available. Redaction removes personal
18   information from records of calls, texts, live chats, and forms in a customer's account.
19          5.      Redacted data can never be recovered once it has been removed from an
20   interaction.   This specifically includes names, telephone numbers, call audio, and text
21   transcriptions associated with all calls and text messages placed with the CTM Platform.
22          6.      All Reverse Mortgage, Inc. ("ARM") is a customer of CTM.
23          7.      I understand that Plaintiff Brenda Whittaker served the instant lawsuit against
24   ARM on January 23, 2020.
25          8.      Prior to service of the instant lawsuit, ARM's account settings reflected an
26   automatic 90-day redaction period for calls and text messages.
27          9.      Because of this automatic redaction period, CTM lacks records identifying the
28   names and telephone numbers of individuals who received calls or text messages from


                                                                 DECLARATION OF LAURE FISHER
      Case 3:20-cv-08016-DLR Document 22-4 Filed 05/27/20 Page 4 of 4



1    ARM via the CTM platform during the four-year period referenced in Ms. Whittaker's
2    complaint and would state as much if served with a subpoena seeking such records and
3    information. CTM lacked such information before Ms. Whittaker served the instant lawsuit
4    on January 23, 2020.
5           10.    That said, after Ms. Whittaker filed and served the instant lawsuit, ARM
6    notified CTM of the pending litigation and requested that it preserve all records and
 7   information that exists that could potentially be relevant to Ms. Whittaker's claims. CTM is
8    currently preserving such records and information in accordance with its legal obligations.
 9          11.    CTM has also overridden the 90-day redaction period on ARM's account.
10          12.    Given the above, all records in CTM's possession, custody, and control that
11   existed as of the date of the lawsuit are currently being preserved.
12          I declare under penalty of perjury that the foregoing is true and correct under the
13   laws of the United States of America.
14          Executed on May 26, 2020 in Severna Park, Maryland.
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                                                           Laure Fisher
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                                                                  DECLARATION OF LAURE FISHER
